      Case 2:14-cv-04859-GAM           Document 3      Filed 12/09/14    Page 1 of 1




      UNITED STATES DISTRICT COURT EASTERN DISTRICT OF PENNSYLVANIA
                              U.S. COURTHOUSE
                         INDEPENDENCE MALL WEST
               601 MARKET STREET PHILADELPHIA, PA 19106-1797




                                                   December 9, 2014


Thomas P. Riley, Esquire
Law Offices of Thomas P. Riley, P.C.
1114 Fremont Avenue
South Pasadena, CA 91030-3127

          RE:   G&G Closed Circuit Events, LLC v. Reyes, et al.
                Civil Action No. 14-4859


Dear Mr. Riley:

      A review of the Court's records shows that service of the complaint on defendants Thomas
R. Reyes and 541 E. Thelma Street, Inc. has not been made in the above-captioned action.

        In order to eliminate a delay in bringing this case to trial, service should be made by
December 19, 2014, in accordance with Rule 40) of the Federal Rules of Civil Procedure. Proof of
service must be filed with the Clerk's Office within five days of service.

       If service is not made by December 19, 2014, the court may dismiss the complaint without
prejudice for lack of prosecution.


                                           Very truly yours,



                                           Patricia Clark
                                           Deputy Clerk to Judge McHugh




Civ. 22
